1    William L. Hames, WSBA #12193
     Hames, Anderson, Whitlow & O'Leary, P.S.
2    601 W. Kennewick Avenue
     P.O. BOX 5498
3    Kennewick, WA 99336-0498
     (509) 586-7797 / Fax (509) 586-3674
4    BillH@hawlaw.com
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8
                             UNITED STATES BANKRUPTCY COURT
9
                             EASTERN DISTRICT OF WASHINGTON
10
                                                 )
11   In re:                                      )    Lead Case No. 19-00473-FPC11
                                                 )    Jointly Administered
12   R & R TRUCKING, INC., and RICARDO           )
     AND ROSA CANTU,                             )    MOTION TO APPROVE ADEQUATE
13                                               )    PROTECTION AGREEMENT AND
                          Debtors.               )    NOTICE THEREOF
14                                               )
15            Come now the debtors, by and through their attorney William L. Hames of
16   Hames, Anderson, Whitlow & O'Leary, P.S., and move the above-entitled court for an
17   order approving the Stipulated Adequate Protection Agreement for payments to Volvo
18   Financial Services, a division of VFS US, LLC (“Volvo”). The Stipulated Adequate
19   Protection Agreement (the “Agreement”) is attached to the Declaration of William L.
20   Hames.
21            The cash collateral order in this case was approved on June 3, 2019 (ECF 58).
22   Volvo is identified as a cash collateral creditor in the cash collateral motion and order.
23   Debtors borrowed $348,748.00 to purchase Volvo tractors. Volvo perfected its interest
24   as it is listed on the Certificates of Title for each vehicle. Debtors are in default and
25   have not made payments since filing. The cash collateral order in this matter indicates
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     MOTION TO APPROVE ADEQUATE                      HAMES, ANDERSON, WHITLOW & O’LEARY, P.S.
28   PROTECTION AGREEMENT AND NOTICE                                 601 W. KENNEWICK AVENUE
     THEREOF - 1                                                                      P.O. BOX 5498
                                                                     KENNEWICK, WA 99336-0498
                                                                   (509) 586-7797 / Fax (509) 586-3674
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1    that Debtors may use cash collateral to make payments to creditors if there is a court-
2    approved Adequate Protection Agreement.
3          This motion is to approve the Stipulated Adequate Protection Agreement. The
4    Agreement calls for Debtor to make $3,000 per month payments to Volvo commencing
5    upon entry of the Order Approving the Stipulated Adequate Protection Agreement.
6    Debtors are currently using the equipment purchased from Volvo and adequate
7    protection is required under 11 U.S.C. § 362.
8                                             NOTICE
9          IF YOU OBJECT TO THE RELIEF REQUESTED ABOVE, YOU MUST FILE A
10   WRITTEN OBJECTION WITH THE CLERK OF THE ABOVE-ENTITLED COURT
11   AND REQUEST A HEARING AT PO BOX 2164, W. 904 RIVERSIDE, ROOM 321,
12   SPOKANE, WASHINGTON 99210, ON OR BEFORE 24 DAYS (21 DAYS PLUS 3
13   DAYS FOR MAILING) FROM THE DATE OF THIS NOTICE AND SERVE A COPY
14   ON THE UNDERSIGNED AT 601 W. KENNEWICK AVENUE, PO. BOX 5498,
15   KENNEWICK, WASHINGTON 99336; AND UPON THE OFFICE OF THE UNITED
16   STATES TRUSTEE, NORTH 221 WALL STREET #538, SPOKANE, WA 99201.
17         SHOULD YOU FAIL TO OBJECT AS SET FORTH ABOVE, PLEASE
18   FURTHER BE ADVISED THAT THE RELIEF REQUESTED MAY BE GRANTED
19   WITHOUT FURTHER NOTICE TO YOU.
20         DATED this 24th day of January 2020.
21                                     HAMES, ANDERSON, WHITLOW & O’LEARY, P.S.
22
                                       Attorneys for Debtors

23
                                       BY:     /s/ William L. Hames
24
                                             WILLIAM L. HAMES, WSBA #12193
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     MOTION TO APPROVE ADEQUATE                  HAMES, ANDERSON, WHITLOW & O’LEARY, P.S.
28   PROTECTION AGREEMENT AND NOTICE                             601 W. KENNEWICK AVENUE
     THEREOF - 2                                                                  P.O. BOX 5498
                                                                 KENNEWICK, WA 99336-0498
                                                               (509) 586-7797 / Fax (509) 586-3674
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